Case 3:10-cv-03561-WHA Document 509-40 Filed 10/07/11 Page 1 of 3




                   EXHIBIT 3-11
       Case 3:10-cv-03561-WHA Document 509-40 Filed 10/07/11 Page 2 of 3
                      HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


                                                                           Page 1
 1                    UNITED STATES DISTRICT COURT
 2                   NORTHERN DISTRICT OF CALIFORNIA
 3                        SAN FRANCISCO DIVISION
 4
 5   ORACLE AMERICA, INC.,                   )
 6             Plaintiff,                    )
 7       vs.                                 )       No. CV 10-03561 WHA
 8   GOOGLE, INC.,                           )
 9             Defendant.                    )
10   ____________________________)
11
12         -- HIGHLY CONFIDENTIAL, ATTORNEYS' EYES ONLY--
13
14       Videotaped Personal Capacity deposition of
15       EDWARD SCREVEN, taken at Morrison & Foerster, LLP,
16       755 Page Mill Road, Palo Alto, California,
17       commencing at 9:42 a.m., on Friday, July 29, 2011,
18       before Leslie Rockwood, RPR, CSR No. 3462.
19
20
21
22
23
24
25   PAGES 1 - 119


                      Veritext National Deposition & Litigation Services
                                        866 299-5127

                                       Exhibit 3-11
                   Case 3:10-cv-03561-WHA Document 509-40 Filed 10/07/11 Page 3 of 3
                                            HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                        Page 70                                                                         Page 72
1    general, we are more successful in business than Sun. I                       1    Java, right, they -- they've now shipped on millions and
2    mean, Sun built some great technologies, but they weren't                     2    millions of handsets; right, and that's going to make it
3    particularly good at bringing them to market and, you                         3    difficult for Oracle or anyone else who wants to ship a
4    know, I have every confidence that, you know, Oracle will                     4    licensed Java implementation for smartphones to succeed.
5    succeed with Sun's assets in a way that Sun never could            11:32:29   5          Q. Why hadn't Sun already gotten into that            11:35:13
6    simply because we manage them better.                                         6    market before Google had given that it -- when I say
7         Q. BY MR. WEINGAERTNER: How does Oracle manage                           7    "that market," the smartphone market, given it's success
8    better than Sun?                                                              8    in the feature phone market?
9         A. We're very focused on making money, so we're                          9             MR. NORTON: Objection to form.
10   very focused on building technology and then selling it       11:32:45        10            THE WITNESS: You have to ask their prior           11:35:27
11   to our customers and supporting it well, right, while                         11   management.
12   making sure our costs are not out of control.                                 12         Q. BY MR. WEINGAERTNER: Well, I guess that will
13        Q. Was there a perception that Sun was -- and                            13   happen later today since you'll be speaking on behalf of
14   I'm going to use your characterization and please correct                     14   Oracle America.
15   me if I haven't done it correctly.                      11:33:06              15         A. Yes --                                  11:35:41
16            Was it your perception that Sun was less                             16            MR. NORTON: Objection, that's not correct.
17   focused on making money than Oracle is focused on making                      17   Mr. Screven in the 30(b)(6) portion of his deposition
18   money?                                                                        18   will be testifying on behalf of Oracle America, but the
19            MR. NORTON: Objection to the form of the                             19   30(b)(6) notice seeks Oracle's -- we understood and
20   question.                                       11:33:17                      20   understand this was discussed at Nedim's deposition --        11:36:00
21            THE WITNESS: Yes.                                                    21   that it's from the perspective of Oracle, it's the
22        Q. BY MR. WEINGAERTNER: At the time of the                               22   acquisition of Sun.
23   acquisition, what was the perception as to -- by Oracle,                      23            So the suggestion that Mr. Screven will be
24   as to what Sun was focused on?                                                24   testifying as Sun's prior management is not correct.
25        A. I think Sun had lost their way in terms of         11:33:24           25            MR. WEINGAERTNER: Okay, and noted that we              11:36:11


                                                                        Page 71                                                                       Page 73
1    strategy. I mean, they -- while certainly they were                     1          have a difference of view on that and we can take it up
2    for-profit company and, you know, sought to sell and                    2          off the record.
3    sought to profit, I think that they, you know, had no                   3                   MR. NORTON: But just we can have a
4    strategy for how it is that they were going to actually                 4          difference of view, but we're the ones putting up the
5    add value to their customers beyond, you know, beyond         11:33:44 5           witness, and so he will not be testifying as Sun's former    11:36:21
6    what other folks were doing.                                            6          management and the suggestion otherwise is incorrect.
7              Now, they did have a very strong focus on                     7                   MR. WEINGAERTNER: Okay. We disagree. I
8    engineering; right, and they created some very good                     8          won't ask any further questions, but my understanding is
9    technology assets. But the thing that they didn't really                9          the witness isn't prepared on those and that's -- I
10   have is a way to tie them together and bring them to        11:34:02   10          understand why now.                                   11:36:34
11   market in the way that would be most appealing to their                11                   Just to follow up on Mr. Screven's answer,
12   customers.                                                             12          when you refer to prior management, would that be someone
13         Q. At the time of the acquisition or since then,                 13          like Mr. Schwartz, Mr. Jonathan Schwartz?
14   does Oracle have a specific strategy or ability other                  14                   THE WITNESS: Yes, yes.
15   than its general business acumen that you referred to,      11:34:22   15                   MR. WEINGAERTNER: I'd like to provide the          11:37:42
16   for succeeding in the smartphone market or the mobile                  16          witness with a copy of a document which has previously
17   platform?                                                              17          been marked in this case as Exhibit 60, which is a letter
18         A. I think Android has basically foreclosed                      18          to Mr. Schwartz, Jonathan Schwartz, then chief executive
19   that. I don't believe that there is a strategy that we                 19          officer and president of Sun although the address doesn't
20   could adopt at this point, right, to displace Android    11:34:39      20          indicate that on this document.                        11:38:04
21   given that they've sucked all out of the air out of the                21                   THE WITNESS: Uh-huh.
22   room for Java on smartphones.                                          22                Q. BY MR. WEINGAERTNER: And I would ask the
23         Q. What do you mean by "sucked out all the air                   23          witness to take a moment to look at the document.
24   out of the room"?                                                      24                A. Yes.
25         A. Well, they are in the market with a clone of    11:34:52      25                Q. Is it a document that you recognize,            11:38:12


                                                                                                                                             19 (Pages 70 to 73)
                                              Veritext National Deposition & Litigation Services
                                                                866 299-5127

                                                                        Exhibit 3-11
